













NUMBER 13-07-00544-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

ALFREDO REGALADO,

INDIVIDUALLY AND D/B/A 4 ACES BAIL BONDS, 	APPELLANT,


v.



THE STATE OF TEXAS,	APPELLEE. 

		

_____________________________________________________________


On Appeal from the 398th District Court 


of Hidalgo County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Rodriguez, Benavides, and Vela


Memorandum Opinion Per Curiam


	Appellant, Alfredo Regalado, Individually and d/b/a 4 Aces Bail Bonds, attempted
to perfect an appeal from a judgment entered by the 398th District Court of Hidalgo
County, Texas, in cause number CR-0393-92-I(N).  Judgment in this cause was signed on
April 30, 2007.  A motion for new trial was filed on May 29, 2007.  Pursuant to Texas Rule
of Appellate Procedure 26.1, appellant's notice of appeal was due on July 30, 2007, but
was not filed until September 4, 2007.   

	On September 7, 2007, the Clerk of this Court notified appellant of this defect so
that steps could be taken to correct the defect, if it could be done. Appellant was advised
that, if the defect was not corrected within ten days from the date of receipt of this Court's
letter, the appeal would be dismissed. To date, no response has been received from
appellant.

          The Court, having examined and fully considered the documents on file, appellant's
failure to timely perfect his appeal, and appellant's failure to respond to this Court's notice,
is of the opinion that the appeal should be dismissed for want of jurisdiction. Accordingly,
the appeal is hereby DISMISSED FOR WANT OF JURISDICTION.  See Tex. R. App. P.
42.3(a)(c).


							PER CURIAM


Memorandum Opinion delivered 

and filed this the 8th day of November, 2007. 





	


